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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL                        §
LEAGUE PLAYERS’ CONCUSSION                      §
LITIGATION                                      §
____________________________________            §   No. 12-md-2323 (AB)
                                                §
KEVIN TURNER & SHAWN WOODEN                     §   MDL No. 2323
on behalf of themselves and others similarly    §
situated                                        §   Civ. Action No. 14-00029-AB
                                                §
v.                                              §
                                                §
National Football League and                    §
NFL Properties LLC,                             §
successor-in-interest to NFL Properties, Inc.   §
                                                §
                                                §
                                                §
THIS DOCUMENT RELATES TO:                       §
ALL ACTIONS                                     §



 ARMSTRONG OBJECTORS’ REPLY IN RE: THEIR ATTORNEYS’ FEE PETITION
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   Class Counsel’s opposition to the Armstrong Objectors’ admittedly reasonable fee petition 1

is high on drama, but light on substance. The Armstrong Objectors respectfully file this brief

Reply to Co-Lead Class Counsel’s Omnibus Fee and Expense Brief (Doc. #7464 at 56-63) to re-

focus the discussion on the cold, hard facts.

I. The Armstrong Objectors’ efforts resulted in the Collateral Time Benefit for Class
   Members.

   Class Counsel claims that the Armstrong Objectors’ appeals did not confer a Collateral Time

Benefit on Class Members, feigning indignation at the Armstrong Objectors’ “attack on the

integrity of the MAF physicians” (Omnibus Fee and Expense Brief at 60). How self-serving.

Class Counsel further accuse the Armstrong Objectors of making a “vaporous statement that

Class Members ‘distrust’ the NFL.” Id. Vaporous. Really?

   Now that the settlement is final, Class Counsel apparently forget this is litigation. The NFL

and Class Members are adversaries. The litigation arose out of Class Members’ distrust of the

NFL’s billionaire owners who allegedly put profits before safety and defrauded Class Members

out of their health and well-being. Because of Class Members’ distrust, this litigation

commenced. And because of Class Members’ distrust, Class Counsel stand to be paid a

handsome fee for performing little substantive work. Just because there is a settlement does not

mean that Class Members’ deep-seated and long-standing distrust of the NFL magically

disappeared. To suggest otherwise is intellectually dishonest.

   The Collateral Time Benefit conferred upon Class Members by the Armstrong Objectors’

appeals is both real and valuable. See, e.g., Declaration of McDonald Worley (Exhibit A). The

minimal time delay in implementing the settlement is more than outweighed by the benefit to

Class Members of being tested by neurosurgeons of their choosing—thereby potentially


   1
       Doc. #7230 and #7232.


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maximizing their settlement benefits. Id. Class Counsel do not offer a scintilla of evidence to the

contrary. The Armstrong Objectors’ Counsel should be compensated for delivering this benefit.

II. The final settlement contains improvements benefitting Class Members mirroring
    suggestions made by the Armstrong Objectors.

   Here, it’s first important to note that Class Counsel do not dispute that on September 3, 2014,

more than a month before the objection deadline, and long before any objections were filed on

the Court’s ECF by anyone, the Armstrong Objectors mailed their Objection to the Clerk of the

Court as directed by the Court’s preliminary approval order—which the Court eventually filed

on the ECF. See Doc. #6353. In other words, the Armstrong Objectors—not the Faneca

Objectors—were the first objectors to the table. In their comprehensive Objection (Doc. #6353)

and subsequently filed Amended Objection (Doc. #6233), the Armstrong Objectors articulated

sixteen detailed, multi-part objections to the Revised Settlement and concrete proposals for

curing the defects—including, among others, suggestions to open up the BAP, extend the Death

with CTE benefits eligibility period, and eliminate the $1,000 appeal fee.

   Although the final settlement does not include the precise enhancements for opening up the

BAP, extending the Death with CTE benefits eligibility period, and eliminating the appeal fee

advocated by the Armstrong Objectors (they advocated for more expansive revisions), the

Armstrong Objectors’ efforts certainly contributed to what was achieved.

   Boiling Class Counsel’s position down to its least common denominator, Class Counsel

argues that the Armstrong Objectors’ Counsel are not entitled to compensation for securing these

enhancements because what was actually achieved does not precisely line up with what the

Armstrong Objectors requested. Omnibus Fee and Expense Brief at 61-63. But that is not the

standard. Nor does Class Counsel, in truth, want it to be the standard. Class Counsel did not

settle this litigation for 100% of what they demanded. Thus, under Class Counsel’s articulated



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standard, they also should receive nothing for their efforts since they did not secure all of the

relief they sought.

   But again, that’s not the standard. It’s the concerted effort that counts. These three settlement

enhancements were secured by the Armstrong Objectors’ Counsel’s efforts. It is undisputed they

were the first ones to the table to suggest them. They should be compensated accordingly. 2

                                                ***

   “‘[I]t is well settled that objectors have a valuable and important role to perform in

preventing . . . unfavorable settlements, and . . . they are entitled to an allowance as compensation

for attorneys’ fees and expenses where a proper showing has been made that the settlement was

improved as a result of their efforts.’” In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 743 (3d

Cir. 2001) (citation omitted).

   The Armstrong Objectors’ efforts improved the settlement, conferring additional benefits on

Class Members. Their Counsel’s requested fee award (straight time, no multiplier, and no

expense request) is more than reasonable. Accordingly the Armstrong Objectors respectfully

request that the Court award them attorneys’ fees of $599,700, and such other and further relief

to which they are justly entitled.

Date: May 5, 2017




   2
         Class Counsel (and the Faneca Objectors) suggest the Armstrong Objectors’ fee petition
is a “knockoff” of the Faneca Objectors’ fee petition. Omnibus Fee and Expense Brief at 56. But
it’s not. Class Counsel confuse the concept of a “knockoff” with hoisting the Faneca Objectors
on their own petard. WILLIAM SHAKESPEARE, HAMLET, ACT 3, SC. 4.


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                                              Respectfully submitted,

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                                              COUNSEL FOR THE ARMSTRONG
                                              OBJECTORS



                                CERTIFICATE OF SERVICE

   I certify that a true copy of the Armstrong Objectors’ Reply in re: their Attorneys’ Fee Petition
was served on all counsel of record, via the Court’s ECF system, on May 5, 2017.

                                              /s/ Richard L. Coffman
                                              Richard L. Coffman

                                              COUNSEL FOR THE ARMSTRONG
                                              OBJECTORS



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                   Exhibit A
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